Case 2:23-cr-00146-NR Document 68-1 Filed 10/25/23 Page 1 of 3

FD-1054 (Rev. 08-17-12) UNCLASSIFIED / /FOUO
FEDERAL BUREAU OF INVESTIGATION

Physical Surveillance Request

Title: (U) Request for FISUR Date: 05/12/2023

Approved By: SSA Rachel Taylor Wolford
SUPV Frank Burja IV
ASAC Scott D. Argiro

Drafted By: MCCONACHIE PATRICK JOHN

Case ID #: 174A-PG-3750507 (U) (U) University of Pittsburgh;
Pittsburgh, Pennsylvania;
Actual/Attempted Bombings and Explosive

Violations
174A-PG-3750507- (U) FISUR
FISUR
2 66H-PG-3754612- (U//FOUO) Repository for physical
FISUR surveillance reports.
266H-PG-3754427- (U//FOUO) Repository for physical
FISUR surveillance reports.

National Threat Band: [
Local Threat Band: II

Is the subject of this request considered armed and dangerous or do the
circumstances of the case involve a potentially dangerous environment
(high-crime locations, known associates, etc.)? No

Does this Surveillance Request require TDY assistance from another
division? No

Request Type: Ground Surveillance (SSG)

Surveillance Start: 05/15/2023 End: 05/18/2023

Objectives: Obtain photos/video of subject and/or associates, Identify
residence/workplace/financial institutions/frequent
locations, Identify associates/vehicles

Subjects Surveilled:

Brian Dipippa

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Title:
Re:

Case 2:23-cr-00146-NR Document 68-1 Filed 10/25/23 Page 2 of 3

(U)

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Request for FISUR

174A-PG-3750507, 05/12/2023

Objectives:

Get Photographs/Video,

Photos of Residence/Vehicle

Objective Details:
(U)
search warrant,

time of the incident,
motorcycle.

Surveillance Conscious?
State Department Travel Notification?

Name and Biographical
Diplomatic Status?
Name and Biographical
Diplomatic Status?
Name and Biographical
Diplomatic Status?
Name and Biographical
Diplomatic Status?
Name and Biographical
Diplomatic Status?
Name and Biographical
Diplomatic Status?
Name and Biographical
Diplomatic Status?
Name and Biographical
Diplomatic Status?
Name and Biographical
Diplomatic Status?
Name and Biographical

Diplomatic Status?

Krystal Di Pippa

Objectives:

No

Information
No
Information
No
Information
No
Information
No
Information
No
Information
No
Information
No
Information
No
Information
No
Information
No

Photos of Residence/Vehicle

Objective Details:

Determine Daily Patterns,

1:

10:

Determine Daily Patterns,

No

Get Photographs/Video,

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2

Specifically,
At the

Obtain

The main objective is to build probable cause to lead to a
and eventually an arrest warrant.
need documentation of his use of vehicles and residences.
he was believed to have been on a sport-type

we

Obtain
Case 2:23-cr-00146-NR Document 68-1 Filed 10/25/23 Page 3 of 3

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Title: (U) Request for FISUR
Re: 174A-PG-3750507, 05/12/2023

(U) Investigation to date reveals Krystal conspired with and
assisted Brian in conducting potential federal violations in
connection with the April 18th protest at the University of
Pittsburgh.

Surveillance Conscious? No

State Department Travel Notification? No

Name and Biographical Information 1:
Diplomatic Status? No

Name and Biographical Information 2:
Diplomatic Status? No

Name and Biographical Information 3:
Diplomatic Status? No

Name and Biographical Information 4:
Diplomatic Status? No

Name and Biographical Information 5:

Diplomatic Status? No

Background and Detaiis: (U) On 18 April 2023, a protest was organized on
the campus of the University of Pittsburgh in order for people to voice
their displeasure with guest speaker Michael Knowles. During the protest,
several people in the crowd began attempting to disrupt the event. An
effigy of Knowles was burned, smoke bombs were thrown, and a "mortar"
style firework was thrown at police officers. University of Pittsburgh
Police Detectives were able to identify two suspects whom may have thrown
one or more of the devices. They are known to law enforcement as Brian
and Krystal DiPippa.

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3
